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IN THE ‘GNTED LATES DISTRICT COURT

FOR: THEIN RN DISTRICT OF ILLINOIS
. TEASER EN RN DIVISION

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JOHN TEBBENS, }
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Plaintiff, ) CP EP LF tw
) ty ee
v. JUBGE CONLON
SERGEANT FRED BREHMER, )
DETECTIVE TIM GRAMINS, ) MAGISTRATE JUDGE NULAN
and OFFICER PETER B. CHMIFL, }
)
Defendants. )
Trial By Jury Demanded
COMPLAINT

Plaintiff, John Tebbens, by his attorney, Edmund B. Moran, Jr., for his complaint

against Defendants Sergeant Fred Brehmer, Detective Tim Gramins, and Officer Peter B.

Chmiel, states as follows:

1. fold
DEC 2 9 7093
THE PARTIES

1. The plaintiff is a resident of the City of Chicago, Cook County, State of
Illinois.

2. Defendant, Sergeant Fred Brehmer, is and was at all times relevant to this
complaint, a scrgeant in the police department of the Village of Skokie, Cook County,
State of Illinois.

3. Defendant, Detective Tim Gramins, is and was at all times relevant to this

complaint a detective in the police department of the Village of Skokie, Cook County,

State of UWlingis.
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4. Defendant, Officer Peter B. Chmiel, is and was at all times relevant to this
complaint an officer in the police department of the Village of Skokie, Cook County,
State of Illinois.

Tl.

JURISDICTION AND VENUE

4. This is an action to scek recovery for violations of plaintiff's civil and
constitutional nghts. As such, jurisdiction is vested in this Court pursuant to 42 U.S.C.
1983 of the 1871 Civil Rights Act and 28 U.S.C. 1331 in that the case presents issues
arising under the statutes and constitution of the United States of America,

5. Venue is proper in this Court under the provisions of 28 U.S.C. 1391 (b) (2) in
that a substantial part of the events or omissions giving rise to the claim occurred in this
federal judicial district.

I.

BACKGROUND

6. On December 31, 2001, plaintiff traveled to the Village of Skokie’s police
headquarters located at 8350 Laramie, Village of Skokie, Cook County, State of Illinois,
in order to pick up his daughter, Grace Tebbens, for a parcntal visit. Plaintiff was, at that
ime, separated from his wifc, Ellen E. Farber, and had been granted visilation rights with
Grace by court which visitation was to commence at 10:00 a.m. on that date.,

7, Plaintiff had previously becn granted regular visitation rights with Grace by
court order, For reasons that were not clear to plaintiff, the Cook County Circuit Court

judge presiding over the marital dissolution proccedings had designated the Village of
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Skokie Police Department headquarters as the drop off/pickup point for plaintiff's visits

with Grace.

8. Plaintiff arrived at the Skokie police headquarters promptly at 10:00 a.m.

9. Plaintiff regularly engages in photography ag a hobby and he particularly enjoys
videotaping his visits with his daughter. Prior to December 31, 2002, plaintiff had
frequently videotaped his arrivals at the Skokie police headquarters when picking up
Grace. On the day in question, plaintilf brought his video camera with him and, after
parking his vehicle, he entered the police headquarters operating his video camera so that
he could memorialize his visit with Grace.

10. After passing through the front door of the police headquarters, Grace ran to
plaintiff. Plaintiff then procceded directly out of the building and placed Grace in the
back seat of his vehicle, buckled her scat belt, and proceeded to enter the driver's seat of
the vehicle, preparing to drive away.

11. As plaintiff was about to pull away, a person who plaintiff now knows to be
Officer Peter B. Chmiel of the Village of Skokie Police Department, came to the curb and
began asking plaintiff why he had operated a video camera in the police headquarters.
Plaintiff did not believe that his videotaping was either illegal or out of the ordinary,
particularly as he had done so numerous times previously without complaint or inquiry
by any Skokie police personnel and he did not believe that Chmiel had any business
questioning him about the matter.

12. At or about the timc that plaintiff was preparing to pull away from the curb,
Chmiel reached out to the door of plaintiff's vehicle and opened it. Plaintiff pulled away

from the curb.
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13. Plaintiff had proceeded less than a block when a Skokie Police Department
squad car pulled out of driveway on the right side of the road plaintiff was traveling on
and barred plaintiff from proceeding further. Two other Skokie squad cars with
emergency lights flashing and sirens screaming pursued him and stopped behind his
vehicle.

14. Numerous police officers approached plaintiff's vehicle, yelling at him to get
out of the vehicle and advancing on plaintiff in a menacing manner. Plaintiff was
frightened for his safety and that of his daughter and, in an initial reaction to the
aggressive approach of these men, locked the one remaining unlocked door to his vehicle.

15. Sergeant Brehmer then approached the drivers’ side of plaintiff's vehicle and,
wielding some type of club or other hard instrument, smashed the window next to the
driver’s position. Glass flew into the vehicle. Plaintiff was then sprayed in the eyes with
pepper spray. The window on the front passenger side of plaintiff's vehicle was then
smashed. Although substantially blinded by the pepper spray, plaintiff got out of the
driver’s seat and worked his way to where his daughter was located in the back seat in
order to protect her from flying glass and any further violence by the police. Brehmer
and other police officers, including defendants Gramins and Chmiel, entered the vehicle
and began beating plaintiff.

16. Plaintiff suffered numerous cuts and bruises as well as a corneal abrasion to
one of his eyes as a result of the beating. He suffered chemical burns to his eyes as a
result of the pepper spray. Plaintiff's upper back and neck were pinned down through

the pressure of a baton applied to the neck area and, after having becn handcuffed, his
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head was yanked back and upward so that he suffered whiplash and aggravaied a prior
workplace injury to his neck suffered in the line of duty as a City of Chicago Firefighter.

17. Plaintiff had not committed any crime at the time of the foregoing events and
none of the defendants had either a reasonable suspicion to believe that plaintiff had
committed ot was aboul to commit a crime and had no reasonable or probable cause to
believe that he had committed any crime at the time of the above events,

18. Brehmer and the other defendants arrested plaintiff. Thercafter,
Chmiel swore out a criminal complaint against plaintiff accusing him of reckless conduct
by alleging that he (Chmiel) had been hit by the door of plaintiff's vehicle, allegedly
injuring his shoulder. Officer Gramins swore out two separate criminal complaints
against plaintiff. In the first complaint, Gramins accused plaintiff of striking him in the
back of his head with the video camera. In the second complaint, Gramins accused
plaintiff of child endangerment by “driving his vehicle into a police officer,” disregarding
traffic contro] devices, and using Grace as a “human shield to defeat a lawful arrest.”
Brehmer swore out a criminal complaint against plaintiff for resisting arrest. Each and
every accusation made in the four criminal complaints was knowingly false.

19. At all times set forth above, all of the defendants were acting under the color
of state law.

20. Asa direct result of the above actions by defendants, plaintiff has suffered the
following injuries:

A. He suffered the above aggravation of a prior workplace injury to his

neck.. Since the above events, plaintiff has had numerous physical rehabilitation sessions,

two injections in his neck, and may need further surgery to ease the pain he has in his

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neck.. He also experiences numbness in his hand that he had never expericnced
previously, which numbness causes him on occasion to lose his grip on objects he seeks
to hold in that hand;

B. Plaintiff now experiences the presence of “floaters” in his field of vision
as a result of the beating and the pepper spray that went into his eyes and which impair
his vision, particularly when he attempts to read;

C. Plaintiff suffered from extreme anxiety, mental distress, and emotional
trauma requiring numerous visits with a licensed clinical psychologist who considers
plaintiff to be suffering from post traumatic shock syndrome;

D. In the wake of and because of the accusations made by defendants in
the criminal complaints they swore out against plaintiff, plaintiff has been deprived of all
visitation rights with his daughter and he has not been able to visit with her for nearly two
years;

E. Plaintiff suffered significant damage to his vehicle the repairs of which
required plaintiff to expend approximately $3,500.00 to $4,000.00,

F. Plaintiff has been required to expend significant sums of money on
attorney’s fees, expert witnesses, and other expenses related to his defense against the
criminal charges that defendants have preferred against him;

G. Plaintiff had to spend $500.00 to replace eyeglasses broken by
the defendants when they beat him and another $130.00 to replace a pager that
defendants broke when they beat him; and

H. Plaintiffs reputation among his co-workers has been damaged as a

result of the criminal complaints defendants have preferred against plaintiff.

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COUNT I

FALSE ARREST

21-40. Plaintiff incorporates herein by refcrence thereto paragraphs |. through 20.
above as paragraphs 21. through 40. of this Count I.

41. The actions of the defendanis violated plaintiff's Fourth and Fourteenth
Amendment rights to be frce from unreasonable seizures of his person by their attempts
{o restrain him and then arresting him in that defendanis never had a reasonable suspicion
that plaintiff had committed or was about to commit a crime and they had no reasonable
and probable cause to believe that he had in fact committed a crime.

COUNT I

UNCONSTITUTIONAT BATTERY

42,~61. Plaintiff mcorporates herein by reference thereto the allegations
contained in paragraphs 1. through 20. above as paragraphs 42. through 61. of this Count
I.

62. The actions of the defendants in beating plaintiff without any reason or
justification violated plaintiff’s fourth and Fourteenth Amendment rights to be free from
unreasonable seizures of his person..

COUNT III

EXCESSIVE USE OF FORCE

63. - 82. Plaintiff incorporates herein by reference thereto paragraphs 1. through

20. above as paragraphs 63. through 8&2. of this Count UT.

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83. If, for any reason, it is determined in this proceeding that onc or more of the
defendants had reasonable cause 1o either stop or arrest plaintiff, defendants’ actions in
beating plaintiff and spraying him with pepper spray were unjustified and amounted to an
excessive use of force in violation of plaintiff's Fourth and Fourteenth Amendment rights
to be free from unreasonable seizures of his person.

COUNT IV

VIOLATION OF DUE PROCESS

84-103. Plaintiff incorporates hercin by reference thcreto paragraphs 1. through
20. above as paragraphs 84. through 103, of this Count TV.

104. Defendants’ false accusations of aggravated battery, reckless conduct,
resisting arrest, and child endangerment against plaintiff violated plaintiff's ourtecnth
Amendment rights to substantive and procedural due process of law.

PRAYER FOR RELIEF

Plaintiff requests that this Honorable Court, following a trial of the issues in this
case, enter a judgment in favor of plaintiff and against each of the defendants granting
plaintiff the following relief:

1. Finding that the defendants violated plaintiff's civil and constitutional nghts
As set forth in each of that above four counts;

2. Granting plaintiff damages in the amount of $750,000.00 for the various
injuries suffered by plaintiff and detailed above resulting from defendants’ illegal and

unconstitutional conduct;

3. Such other and further relief that the Court deems just and proper.
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JOHN TEBBENS

By:,
His Attorney

Edmund B. Moran, Jr.

Suite 857

53 West Jackson Boulevard
Chicago, Illinois 60604
(312) 408-1544

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GZ.
J8

(Rev. 12/96)

by
of the

1. (8) PLAINTIFFS

John Tebbens

CIVIL COVER SHEET

The J8-44 civil cover sheet and the information contained herein neither replace not Supplement the filing and service of pleadings or other papers as

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Sergeant Fred Brehmer,
Detective Tim Graming,

Officer Peter BE. Chmiel
GOUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT |

(GN U.S. PLAINTIFF CA

law, excepl as provided by local rules of Cour. Thig ttm, approved by the Judiciat Conference of the United States in September 1974, is required to
Clerk of Court tor the purpose of initiating the civil docket sheet. (BEE INSTAUCTIONS ON THE REVERSE OF THE FORM.)

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Vi. CAUSE OF ACTION

False arrest, battery,
42 U.S.C. 1983

excessive use of force,

(CITE THE U.S, GIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.
DO NOT CITE JUAISDE- TIONAL STATUTES UNLESS DIVERSITY:}

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VII, REQUESTED IN
COMPLAINT

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VIII. «= This cave

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UNITED STATES DISTRICT COURT ©
NORTHERN DISTRICT OF ILLINOIS
Case dC 9 3 5 2

nthe Matter of

John Tebbens,
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Fred Brehmer, Tj
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and Pater B. Chmiel , ey
APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY (S) FOR: ONL ON
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